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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action No. 07-cv-00371-RPM

CHARLES CALDWELL and
VICKI CALDWELL,

                    Plaintiffs,
v.

FRED WEGENER,
MONTE GORE,
GREGORY S. FLINT,
STEVEN GROOME,
SHAWNA WHITEOWL, and
MARK DAMON,

                    Defendants.

_____________________________________________________________________

                      ORDER SETTING TRIAL DATE
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      Pursuant to the calendar call today, it is

      ORDERED that this matter is set for trial to jury on September 29, 2008, at 9:00

a.m., with counsel to be present at 8:30 a.m. on the first morning of trial, in Courtroom

A, Second Floor, the Byron White United States Courthouse, 1823 Stout Street, Denver,

Colorado. Trial procedures may be found at www.cod.uscourts.gov/judges_frame.htm

      DATED: February 29, 2008

                                         BY THE COURT:

                                         s/Richard P. Matsch
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                                         Richard P. Matsch, Senior Judge
